        Case 3:13-cr-04050-BTM                          Document 108                Filed 12/19/14             PageID.208       Page 1 of 4

     fi:'t.AO 245D (CASD) (Rev, 81ll) Judgment in a Criminal Case for Revocations
                 Sheet 1



                                                UNITED STATES DISTRICT COURT                                                        DEC 19 2014

                                                      SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                        ~.
                     UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                           V.                                          (For Revocation of Probation or Supervised Release)
                    JOHN WILLIAM KIMBRIEL [I]                                          (For Offenses Committed On or After November I, 1987)


                                                                                       Case Number: 13CR4050-BTM

                                                                                       ROBERT GARCIA
                                                                                      Defendant's Attorney
    REGISTRATION No. 40756298
o   THE DEFENDANT:
     IZIadmitted guilt to violation ofallegation(s) No . -'I"'-;;,2_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o was found in violation ofallegation(s) No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):


    Allegation Number                         Nature of Violation
             1-2               Unlawful use of controlled substance




       Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through                     4     of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and Umted States Attorney of any material change in the
    defendant's economic circumstances.

                                                                                      DECEMBER 16, 2014
                                                                                      Date of Imposition of Sentence




                                                                                                                                     13CR4050-BTM
     Case 3:13-cr-04050-BTM                            Document 108     Filed 12/19/14      PageID.209            Page 2 of 4
AO 245B        (Rev. 9/00) Judgment in Criminal Case
               Sheet 2 - Imprisonment

                                                                                               Judgment - Page _...;2:....._ of    4
DEFENDANT: JOHN WILLIAM KIMBRIEL [I]
CASE NUMBER: I3CR4050-BTM
                                                               IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          TIME SERVED (40 DAYS).


                                                                                              ~reJ~~
                                                                                               BARRY ED MOSKOWITZ
   o      The court makes the following recommendations to the Bureau of Prisons:              UNITED STATES DISTRICT JUDGE




   o The defendant is remanded to the custody of the United States Marshal.
   o The defendant shall surrender to the United States Marshal for this district:
            Oat                                         O·m.    Dr.m.    on
                  as notified by the United States Marshal.

   DThe defendant shall surrender for service of sentence at the institution designated by the Bureau ofPrison~:
           D      before
           o as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.

                                                                  RETURN

I have executed this judgment as follows:

          Defendant delivered on                                                  to

at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a celtified copy of this judgment.


                                                                                             UNITED STATES MARSHAL


                                                                        By ________~~~~~~~~~~-------
                                                                                         DEPUTY UNITED STATES MARSHAL




                                                                                                                          13CR4050-BTM
        Case 3:13-cr-04050-BTM                  Document 108              Filed 12/19/14          PageID.210            Page 3 of 4
AO 245D (CASD) (Rev. 8111) Judgment in a Criminal Case for Revocations
           Sheet 3 - Supervised Release
                                                                                                           Judgment-Page _..2.3_ of           4
DEFENDANT: JOHN WILLIAM KIMBRIEL [I]
CASE NUMBER: 13CR4050-BTM
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
TWO (2) YEARS.


         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          ---
D The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant sha11 not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).




o The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                      ST ANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shalt not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shalt report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dep'endents and meet other famity responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shalt notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shalt not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shalt not associate with any persons engaged in criminal activity and shalt not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shalt permit confiscation of any
        contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shalt not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defef!,dant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

                                                                                                                                  13CR4050-BTM
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        AO 245B    (Rev. 9/00) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                         Judgment   Page      4   of      4
        DEFENDANT: JOHN WILLIAM KIMBRIEL [I]
        CASE NUMBER: 13CR4050-BTM




                                               SPECIAL CONDITIONS OF SUPERVISION
Igj Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
    a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

Igj Participate in a program of drug abuse treatment including testing and counseling, with at least I to 8 tests per month and I to 8 counseling
    sessions per month as directed by the probation officer.
o   Not transport, harbor, or assist undocumented aliens.
o Not associate with undocumented aliens or alien smugglers.
o Not reenter the United States illegally.
Igj Not enter the Republic of Mexico without written permission of the Court or probation officer.
~ Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
Igj Not possess any narcotic drug or controlled substance without a lawful mediCal prescription, under Federal Law.
Igj Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
  report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.


o   The defendant shall not discontinue mental health medication without written permission of his Doctor.

o   Provide complete disclosure of personal and business financial records to the probation officer as requested.
Igj Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of up to 120 days commencing upon release.
    This is a non-punitive placement. This condition terminates upon ently into a residential drug treatment program.
Igj Seek and maintain full time employment and/or schooling or a combination of both.
o   Abstain from all use of Alcohol.
o   Complete an Anger Management Program as directed by the Probation Officer within 18 months ofrelease.
o   The defendant shall complete the "Volunteers of America" detox program.
Igj Forthwith Apply for enter and successfully complete a residential drug treatment Program as directed by the Probation Officer.

o. IfStates
       deported, excluded, or allowed to voluntarily leave the United   State~, obey all laws federal, state and local and not reenter the United
            illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
    suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




                                                                                                                                       13CR4050-BTM
